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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION




  UNITED STATES OF AMERICA,                     )
                                                )
                   Plaintiff,                   )
                                                )
       v.                                       )       Cause No. 4:01-CR-22-03-SEB-MGN
                                                )
  TERRY LEE MOZEE                               )
                                                )
                   Defendant.                   )




                 MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


            This matter is before the undersigned U.S. Magistrate Judge pursuant to the Order

  entered by the Honorable Sarah Evans Barker, U.S. District Court Judge, on December 9,2010,

  designating the Magistrate Judge to conduct a hearing on the Petition for Warrant for Offender

  Under Supervision filed with the Court on December 8, 2010, and to submit to Judge Barker

  proposed Findings of Facts and Recommendations for disposition under 18 U.S.C. §§3401(i) and

  3583(e) and (g). An initial hearing was held on January 10, 2011, and a revocation hearing was

  held on February 14, 2011, in accordance with Rule 32.1 of the Federal Rules of Criminal

  Procedure and 18 U.S.C. §3583. Mr. Mozee appeared at the initial hearing and the revocation

  hearing in person and with CJA Counsel, Frank Campisano.        The Government appeared by A.

  Brant Cook, Assistant United States Attorney. U.S. Probation appeared by Brian Bowers, who

  participated in the proceedings.
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         The following procedures occurred in accordance with Rule 32.1 of the Federal Rules of

  Criminal Procedure and 18 U.S.C. §3583:

         1. On January 10, 2011, Frank Campisano, CJA Counsel, was present to represent Mr.

  Mozee in regard to the pending Petition for Revocation of Supervised Release.

         2. A copy of the Petition for Revocation of Supervised Release was provided to Mr.

  Mozee and his counsel. The Magistrate Judge summarized the alleged violations and, further,

  Mr. Mozee and his counsel informed the Court that they had read and understood the

  specifications of each alleged violation and waived further reading thereof.

         3. Mr. Mozee was advised of his right to a preliminary hearing and its purpose in regard

  to the alleged specified violations of his supervised release contained in the pending Petition.

         4. Mr. Mozee was informed that he would have the right to question witnesses against

  him at the preliminary hearing unless the Court, for good cause shown, found that justice did not

  require the appearance of a witness or witnesses.

         5. Mr. Mozee was afforded the opportunity to appear at the preliminary hearing and

  present evidence on his own behalf.

         6. Mr. Mozee was informed that, if the preliminary hearing resulted in a finding of

  probable cause that Mr. Mozee had violated an alleged condition or conditions of his supervised

  release set forth in the Petition, he would be held for a revocation hearing.

         7. Mr. Mozee, by counsel, waived his right to a preliminary hearing, and a written

  waiver waiving the preliminary hearing was executed in open court. The defendant was

  released pursuant to his terms and conditions of supervised release, and the Court scheduled the

  revocation hearing for February 2, 2011.


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         8. On February 1, 2011, the Government filed a Motion to Continue the revocation

  hearing due to an ice storm, and said motion was granted on February 3, 2011. The revocation

  hearing was then reset for February 14, 2011, at 2:00 p.m.

         9. On February 14, 2011, the defendant appeared in person and by CJA Counsel, Frank

  Campisano. The Court proceeded to the revocation hearing upon the allegations of alleged

  violation of the Terms of Supervised Release particularly as set out in Violation Numbers 1 thru

  6 as contained in the Petition.

         10. The Court then inquired of the defendant, who was sworn at the initial hearing and

  remained under oath, as to whether he admitted to the specifications alleged in the Petition for

  Violation of the Terms of Supervised Release, and Mr. Mozee admitted the violations contained

  in Violation Numbers 1 thru 6. The Court specifically inquired of Mr. Mozee whether he was

  making these admissions voluntarily and free from any duress, promises, or undue influence.

  The Court further advised Mr. Mozee that the Court was not bound by any particular plea

  agreement made between the United States and Defense Counsel. All of which Mr. Mozee

  answered in the affirmative. The Court finds the admissions were knowingly and voluntarily

  entered into and that there was a basis in fact for revocation in regard to Violation Numbers 1

  thru 6. The violations are summarized as follows:

  Violation Number       Nature of Noncompliance

         1               “The defendant shall report to the probation officer and shall submit a truthful
                         and complete written report within the first five days of each month.”

         2               “The defendant shall answer truthfully all inquiries by the probation officer
                         and follow the instructions of the probation officer.”

         3               “The defendant shall notify the probation officer at least ten days prior to any
                         change in residence or employment.”

                         On July 16, 2010, the offender was instructed to begin submitting daily job
                                                    3
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                   search verification forms. On July 23, 2010, the offender left this officer a
                   voicemail indicating he was employed and would no longer report daily. He
                   provided no information regarding his employment. This officer left messages
                   for the offender on July 28 and 29, 2010, to call and provided employment
                   details, but he did not return the phone calls.

                   On August 4, 2010, the offender called and advised he was no longer employed.
                   He was instructed to resume submitting daily job search verification forms
                   immediately; however, he failed to report or provide the job search verification
                   forms on August 5 through 9.

                   On September 10, 2010, the offender left a vulgar message stating he wanted
                   “[this officer] to violate his probation and send [him] back to prison.”

                   It is also noted after submitting a monthly report form for the month of
                   September 2010 that was 12 days late, the form was missing the first page. On
                   September 17, 2010, a message was left for the offender to report to the office
                   and supply the front page not later than September 20; however, the offender
                   never reported.

                   On October 20, 2010, the offender admitted moving to a new residence weeks
                   earlier without previously notifying this officer. On October 30, 2010, this officer
                   was notified by his new roommate that he returned to his original residence on or
                   about October 23, 2010. On November 2, 2010, the offender called and advised
                   he moved on October 31, 2010.

       4           “The defendant shall not incur new credit charges or open additional lines of
                   credit without the approval of the probation officer.”

                   On October 19, 2010, this officer contacted the offender’s mother at his reported
                   residence and discovered a 2005 Ford Mustang. According to the offender’s
                   mother, her husband cosigned for the offender so he could finance the vehicle.
                   On October 20, 2010, the offender admitted securing a loan for this vehicle
                   without permission from this officer.

       5           “The defendant shall participate in a substance abuse treatment program and
                   shall submit to periodic drug and alcohol testing at the direction and discretion
                   of the probation officer during the term of supervision.”

                   On July 12, September 24, and October 28, 2010, the offender failed to report to
                   substance abuse treatment sessions. On September 17, 2010, the offender failed
                   to report to drug testing.

       6           "The defendant shall pay any fine that is imposed by this judgment, and that
                   remains unpaid at the commencement of the term of supervised release."

                   The offender is delinquent on his fine payment, as he has made no payments
                   since beginning his term of supervised release. Presently, he has a balance of
                   $1,454.

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         10. Based on the information available to the Court, the Court further finds the

  following:
                1)      Mr. Mozee has a relevant criminal history category of II. See, U.S.S.G.
                        §7B1.4(a).

                2)      The most serious grade of violation committed by Mr. Mozee constitutes a
                        Grade C violation, pursuant to U.S.S.G. §7B1.1(b).

                3)      Pursuant to U.S.S.G. §7B1.4(a) and (b)(3)(A) upon revocation of
                        supervised release, the range of imprisonment applicable to Mr. Mozee is
                        4-10 months.

                The Court, having heard the admission of the defendant, NOW FINDS that the

         defendant violated the above-delineated conditions of his supervised release as set forth

         in Violation Numbers 1 thru 6 of the Petition. At this time, the Court finds and would

         suggest that the defendant should not be incarcerated or placed in a halfway house and

         that he continue to reside at his mother’s residence. The Defendant is ordered to pay the

         sum of $50.00 each month towards his fine. The Magistrate Judge seeks to retain

         jurisdiction and would set this matter for a hearing on May 11, 2011, at 2:00 p.m. at

         which time the court will review the Defendant’s compliance during the past ninety (90)

         days with his conditions of supervised release as well as the specific conditions as noted

         in this Report and Recommendation, and make a supplemental recommendation to the

         District Judge regarding the final disposition of this matter.

  IT IS SO RECOMMENDED this 23rd day of February, 2011.



                                        __________________________________
                                        Michael G. Naville, Magistrate Judge
                                        U. S. District Court, Southern District of Indiana
                                        New Albany Division
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